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                                   STATEMENT OF FACTS

        Your Affiant,                       , is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to the Detroit Division, Flint Resident Agency, and have been so
since 2004. In my duties as a Special Agent, I investigate violations of federal criminal law,
including violent crimes and gang investigations. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                    Facts Specific to this Application

       On or about January 14, 2021, the FBI received screenshots of messages that had been
posted on “thedonald.win” website by username “sabercrystals” that stated the following:

       “I’m driving from North Dakota, armed with enough ammo too win a small war.I’m ready
       to link up and arrive in mass outside dc on the 3rd or 4th.”

       “Seeing this country tear itself apart breaks my heart and weighs heavy on my chest,
       nobody wants to do what we all know needs to be done, but it’s our duty to make sure this
       never happens to any future generations ever again.I’m willing to give up everything I have
       and my entire lineage to make that happen.”

       “I’m leaving tomorrow afternoon. I’m only 8 hours away. I’ll will be there on the 5th”

        “I just arrived tonight in DC, I’m not sure if it’s normal here, but all the parking garages
       are shuttered and you can’t go into any of them in DC, however a few federal buildings do
       have their garages open but you just consent to a search to allowed in, fuck that. Best best
       is in Arlington if you are a 2a pede, otherwise anywhere surrounding should be within
       walking distance. Hope to see a crowd here in the morning when I wake up, let’s hope I’m
       not disturbed into I do.”




      Through open-source searches, “sabercrystals” was identified as being a username for
LAWRENCE SILAS BILLITER (BILLITER) of Minot, North Dakota. As described below,
BILLITER later acknowledged this is his username and that he made these posts.
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       Using facial recognition software, a driver’s license photograph for BILLITER was
compared against videos and photographs from the Capitol grounds on January 6, 2021. The facial
recognition software identified BILLITER as being around and inside the U.S. Capitol on January
6, 2021.

       The FBI received results from a geofence search warrant served on Google for a mobile
device associated with number XXX-XXX-6700 (“the 6700 number”) and Google email address
timeXXXX@gmail.com, which as described below are the number and email address used by
BILLITER. The search warrant results showed that the Google Account ID and Device ID
associated with the aforementioned number and email was present at and inside the U.S. Capitol
on January 6, 2021.

        On or about April 7, 2021, a FBI Task Force Officer (TFO) contacted the 6700 number.
The individual who answered confirmed he was BILLITER. BILLITER advised that he would be
willing to be interviewed in person. BILLITER informed that he was currently working in Minot,
North Dakota.

        On or about April 24, 2021, an FBI Special Agent interviewed BILLITER at the FBI Minot
Resident Agency in Minot, ND. During the interview, the FBI Special Agent showed BILLITER
Still Image #1 and he identified himself as the person in that image. Still Image # 1 is taken from
open-source video from inside the Capitol building on January 6, 2021.




                                         Still Image # 1

        BILLITER informed the FBI Special Agent that he was wearing the same hat during the
interview as he was in the image at the U.S. Capitol. BILLITER informed the FBI Special Agent
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that he traveled by himself to Washington D.C. to attend the Trump rally and to walk and protest
in front of the U.S. Capitol.

        BILLITER denied participating in any violent activity inside or outside the Capitol and
stated he had no intention to do so. BILLITER explained that he went inside the Capitol because
of “herd mentality”. BILLITER went up the steps and inside the Capitol near where the U.S. flag
was hung on the outside of the building. BILLITER walked around inside the Capitol and the
atrium. BILLITER estimated that he was inside the Capitol for approximately 20 minutes before
law enforcement arrived and told everyone to leave.

       BILLITER informed the FBI Special Agent that he has visited the website
“thedonald.win”. BILLITER further informed the FBI Special Agent that his usernames are
“sabercrystals” and “scorpiotravelrr”. BILLITER has used the “sabercrystals” username since he
was a teenager. BILLITER stated that one of his email addresses was the same Google email
address that was associated with the 6700 number and inside the U.S. Capitol on January 6, 2021
according to the results of a Google geofence search warrant.

       BILLITER told the FBI Special Agent that he made the posts on “thedonald.win” website
days before January 6, 2021. BILLITER admitted to making the posts about being armed with
enough ammo to win a small war while he was driving from North Dakota to his home in South
Carolina.

       BILLITER admitted to purchasing an AR-15 rifle in Montana and stated that “enough
ammo” meant 200-300 rounds. BILLITER stated that he did not transport the rifle or ammunition
to Washington, D.C. and left it all at his house in South Carolina. BILLITER stated he did not
possess any firearms or ammunition while in Washington, D.C. because he was “not that stupid.”

        BILLITER further told the FBI Special Agent that he drove to Washington, D.C. and
arrived on January 4, 2021. He stated that he slept in his vehicle because the “hotels were shut
down.” On January 6, 2021, BILLITER stated that he walked to the rally at the Ellipse from where
he parked.

       I and another FBI Agent reviewed open-source videos, Capitol Police Closed Circuit
Television (“CCTV”) footage and law enforcement body-worn camera videos of BILLITER on
the Capitol grounds on January 6, 2021.

        BILLITER was first observed in a YouTube video titled “Walk around the monument-
January 6th 2021”. BILLITER is wearing brown pants, a dark colored coat, the same black and
gray/brown ballcap with a rectangular logo on the front that he wore to the April 2021 interview,
with a tan backpack, a red, white and blue neck gaiter or bandana, blue gloves and carrying a U.S.
flag. Videos from social media show BILLITER in the same clothing at the Trump rally near the
Washington Monument as depicted in Still Image #2.
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                                               Still Image # 2

       On the West side of the U.S. Capitol, I observed BILLITER in various photographs and
videos from social media, dressed in the same clothing, but now wearing a bicycle type of helmet
as depicted in Still Image #3.




                                               Still Image # 3

       BILLITER is later observed in another video walking in front of construction scaffolding
on the Northwest plaza area, wearing the same clothing, but now wearing a green military-style
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helmet with a faceshield, the red, white and blue gaiter or bandana is pulled up covering his face,
the same blue gloves, and carrying a silver metal pole as depicted in Still Image # 4. The pole is
consistent with the poles used in the construction scaffolding in which BILLITER is walking in
front of and where I previously observed video of him underneath.




                                                 Still Image #4

       As depicted in Still Image #5, as BILLITER walked past, I observed the black and
gray/brown trucker-style hat secured to the side of his tan backpack and the same pants and boots
previously seen in images where BILLITER’s face was exposed.
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                                                 Still Image #9

       After this attack on the police line, I observed open-source footage of BILLITER back
underneath the construction scaffolding, with his facemask and helmet removed as depicted in Still
Image #10.
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                                       Still Image #10

        At approximately 2:42 p.m., BILLITER and a group of rioters entered the U.S Capitol
through the Senate Parliamentarian door after the windows were broken by rioters as depicted in
open-source video (Still Image #11) and CCTV (Still Image #12). BILLITER wore the same
clothes and tan backpack, but now put back on the black and gray/brown trucker-style hat.




                                              Still Image # 11




                                              Still Image # 12
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       As the crowd of rioters forced their way into the building, police officers responded to the
doors as they were being broken and breached. I observed BILLITER and other rioters move
towards those officers, and I observed the officers back up and retreat as the crowd surged
toward them. I observed BILLITER exit through the same door approximately 2 minutes later.
During that time, he appeared to be suffering the effects of a chemical irritant.

       At approximately 3:08 p.m., BILLITER made a second entrance into the U.S. Capitol
building through the Senate Wing Door (Still Image # 13).




                                         Still Image # 13

       I observed open source videos and CCTV video of BILLITER as he walked around inside
the U.S. Capitol and entered an office space as depicted in Still Image #14.




                                                Still Image # 14
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       After BILLITER exited the Capitol building a second time, he remained on Capitol
grounds, and close to the building itself, for approximately an hour and a half before law
enforcement pushed rioters en masse from the upper terraces near the building. I observed
BILLITER among the last group of individuals on the U.S. Capitol steps as law enforcement
attempted to push back the crowd. BILLITER and several other rioters pushed a large metal
construction box against a line of officers as depicted in Still Image #15.




                                                Still Image #15

         Based on the foregoing, your affiant submits that there is probable cause to believe that
BILLITER violated 18 U.S.C. § 111(a)(1) and (b) which makes it a crime to forcibly assault, resist,
oppose, impede, intimidate, or interfere with a federal officer while they are engaged in their
official duties and separately provides for enhanced penalties when a dangerous instrument is used
or bodily injury is suffered.

        Additionally, your affiant submits there is probable cause to believe that BILLITER
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

         Your affiant submits there is also probable cause to believe that BILLITER violated 18
U.S.C. § 1752(a)(1),(2), and (4) which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
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to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
bU.Siness or official functions; and (4) knowingly engages in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where any person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that BILLITER violated 40
U.S.C. § 5104(e)(2)(D), (F), and (G) which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 8th day of November 2023.                              Digitally signed
                                                                      by G. Michael
                                                                      Harvey
                                                     ___________________________________
                                                     U.S. MAGISTRATE JUDGE
